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✎ AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                         UNITED STATES DISTRICT COURT
                          Western                                  District of                                    Louisiana
           UNITED STATES OF AMERICA
                      V.                                                        ORDER OF DETENTION PENDING TRIAL
              RYAN KEITH TAYLOR                                              Case Number:                    2:17-cr-00230
                             Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing was held on September 20, 2017. I conclude that the
following facts require the detention of the defendant pending trial in this case.
                                                             Part I—Findings of Fact
□    (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a □ federal offense           □   state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
         □ a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         □ an offense for which the maximum sentence is life imprisonment or death.
         □ an offense for which a maximum term of imprisonment of ten years or more is prescribed in
           □    a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
                § 3142(f)(1)(A)-(C), or comparable state or local offenses.
□    (2)   The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
□    (3)   A period of not more than five years has elapsed since the □ date of conviction □ release of the defendant from imprisonment
           for the offense described in finding (1).
□    (4)   Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
           safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
     (1)   There is probable cause to believe that the defendant has committed an offense
                for which a maximum term of imprisonment of ten years or more is described in 21 U.S.C. §§ 846 and 841(b)(1)(A)                       .
     (2)   The court finds that probably cause exists to believe the defendant committed the offense involving a minor victim and he has not
           rebutted the presumption established by 18 U.S.C. § 3142(f)(1)(E) that no condition or combination of conditions will
           assure the appearance of the defendant and the safety of other persons and the community.
                                                                 Alternative Findings (B)
X    (1)   There is a serious risk that the defendant will not appear.
X    (2)   There is a serious risk that the defendant will endanger the safety of another person or the community.
□    (3)   Defendant has consented to detention for reasons set forth below.




                                            Part II—Written Statement of Reasons for Detention
      Defendant has no contacts or ties to the Western District of Louisiana except for his relationship with the U.S. Army stationed at Ft. Polk,
Louisiana. It is expected that he will be separated from the military as a result of this proceeding as well as incidents that occurred on base for
which he has not yet been charged as well as findings made by law enforcement after search of his apartment. Given the seriousness of the charge,
the lack of contact to this area, the unavailability of anyone to act as a third-party custodian for defendant, we conclude that there exists no
conditions of release that we could impose to reasonable protect the safety of another person or the community or defendant’s appearance at
trial or other proceedings.
                                                   Part III—Directions Regarding Detention

     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.

               September 21, 2017
                      Date                                                               Signature of Judicial Officer
                                                                                              Kathleen Kay
                                                                                      United States Magistrate Judge
